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                    UNITED STATES DISCTICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

DANIEL WILLIAM RUDD,

      Plaintiff,
                                          No. 1:18-cv-124
v
                                          HON. GORDON J. QUIST
CITY OF NORTH SHORES, GARY
NELUND, DANIEL SHAW, MATTHEW              MAG. RAY KENT
RHYNDRESS, MICHAEL
WASSILEWSKI, JON GALE, MARK
MEYERS, CHRIS MCINTIRE,
DOUGLAS, HUGHES, WILLIAM
HUGHES, PLLC, MELISSA MEYERS,
MICHELLE McLEAN, JOEL BAAR,
BOLHOUSE, BAAR & HOFSTEE PC,

      Defendants.
_____________________________________________________________________________
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                                                                            /


                             PROOF OF SERVICE

STATE OF MICHIGAN )
                  ) ss
COUNTY OF INGHAM )


      On May 17, 2018, I served a copy of the proposed Stipulation & Order
Extending Time for Plaintiff’s Response to Defendant McIntyre’s Motion To Dismiss
was served upon Defendant Melissa Meyers by email at: mmeyers@tanisshultz.com



                                            /s/ Monica Robinson
                                            Monica Robinson
